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 8                                 UNITED STATES DISTRICT COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA

10                                    SAN FRANCISCO DIVISION

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12   GROUPE CANAL+ S.A., CANAL+                    )   CASE NO.: C02-01178 (VRW)
     TECHNOLOGIES, S.A., CANAL+                    )
13   TECHNOLOGIES, INC.,                           )
                                                   )
14                  Plaintiffs,                    )   STIPULATION FOR DISMISSAL
                                                   )   WITH PREJUDICE
15          v.                                     )
                                                   )
16   NDS GROUP PLC, NDS AMERICAS, INC.,            )   Judge: Hon. Vaughn R. Walker
     NDS ISRAEL, LTD.,                             )
17                                                 )
                    Defendants.                    )
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     STIPULATION FOR DISMISSAL WITH PREJUDICE
     CASE NO. C02-01178 VRW
       Case 3:02-cv-01178-VRW Document 157 Filed 04/30/03 Page 2 of 2



 1          Pursuant to Rule 41(a), due to settlement of the action the parties to the above-

 2   entitled action hereby stipulate that it shall be dismissed with prejudice, each side to bear
 3
     its own costs.
 4
     Dated: April 30, 2003                  James A. DiBoise
 5                                          Elizabeth M. Saunders
                                            WILSON SONSINI GOODRICH & ROSATI
 6
                                            By:______/s/James A. DiBoise
 7
                                                         James A. DiBoise
 8                                          Attorneys for Plaintiffs
                                            Groupe Canal+ S.A., Canal+ Technologies, S.A.,
 9                                          Canal+ Technologies, Inc.
10   Dated: April 22, 2003                  Patrick Lynch
11                                          Darin W. Snyder
                                            O’MELVENY & MYERS LLP
12
                                            By:______/s/Darin W. Snyder
13                                                       Darin W. Snyder
                                            Attorneys for Defendants
14                                          NDS Group PLC, NDS Americas, Inc.,
15                                          NDS Israel, Ltd.

16           I, Elizabeth M. Saunders, am the ECF User whose identification and password are being
     used to file this Stipulation For Dismissal With Prejudice. In compliance with General Order
17   45.X.B., I hereby attest that James A. DiBoise and Darin W. Snyder have concurred in this
     filing.
18
     Dated: April 30, 2003                  WILSON SONSINI GOODRICH & ROSATI
19

20                                          By:______/s/Elizabeth M. Saunders
                                                         Elizabeth M. Saunders
21                                          Attorneys for Plaintiffs
                                            Groupe Canal+ S.A., Canal+ Technologies, S.A.,
22                                          Canal+ Technologies, Inc.
23   IT IS SO ORDERED.
24

25

26   Dated: ______________, 2003            __________________________________________
                                            The Honorable Vaughn R. Walker
27                                          Judge, United States District Court

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     STIPULATION FOR DISMISSAL WITH PREJUDICE           2
     CASE NO. C02-01178 VRW
